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              Exhibit no. 7
     Articles 140, 141, 208, and 209
of the Lebanese Code of Obligations and
                Contracts
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Articles 140, 141, 208, and 209 of the Lebanese Code of Obligations and Contracts

Article 140:

Anyone who, without a legitimate cause, has enriched himself at the expense of others, is liable
to restitution.

Article 141:

The obligation of the enriched person towards the enricher arises, in this form and by virtue of
this source, only if the following conditions are met:

   1- An enrichment, direct or indirect, pecuniary or moral, must have taken place by the
      alleged enriched;

   2- A correlative impoverishment must have been suffered by the enricher, due to the transfer
      of an asset or value made by him or a service rendered by him;

   3- The enrichment that was realized and the corresponding impoverishment must be devoid
      of a legal cause that would justify them; and

   4- The enricher must not have at his disposal, to obtain satisfaction, any action other than
      the action based on enrichment and which has, compared to all other legal grounds, a
      subsidiary character.

Article 208:

Fraud is never exclusive of consent; it vitiates it and entails the nullity of the contract when it has
been decisive and has decided the victim to contract.

Incidental fraud, which, without having determined the formation of the contract, has modified
its clauses, affords the victim no more than action for damages.

Article 209:

Decisive fraud entails the nullity of the contract to the extent that it has been committed by one
of the parties to the detriment of the other; however, fraud by a third party is also decisive if the
party who benefitted from it was aware of it when the contract was made, otherwise, it only
entitles the victim to claim damages against the author.
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